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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

   Martha Reyes,                                                Civ. Action #:

                                   Plaintiff,                   Complaint
                 -v-
                                                                Date Filed:
   Concord Management of NY LLC,
                                                                Jury Trial Demanded
                                   Defendant.

       Plaintiff Martha Reyes (“Plaintiff,” or “Reyes”), by Abdul Hassan Law Group, PLLC,
her attorneys, complaining of Defendant Concord Management of NY LLC (“Defendant”)
respectfully alleges as follows:


                           NATURE OF THE ACTION
1. Plaintiff alleges that she was employed by Defendant and pursuant to the Fair Labor
   Standards Act ("FLSA"), 29 U.S.C. §§ 216 (b), she is: (i) entitled to unpaid overtime wages
   from Defendant for working more than forty hours in a week and not being paid an overtime
   rate of at least 1.5 times her regular rate for such hours over forty in a week; and (ii) entitled
   to maximum liquidated damages and attorneys’ fees pursuant to the Fair Labor Standards
   Act, 29 U.S.C. §§ 201 et seq. including 29 U.S.C. §§ 216(b).


2. Plaintiff further complains pursuant to New York Labor Law, that she is: (i) entitled to
   unpaid overtime wages from Defendant for working more than forty hours in a week and not
   being paid an overtime rate of at least 1.5 times her regular rate for such hours over forty in a
   week; and (ii) is entitled to maximum liquidated damages and attorneys’ fees, pursuant to the
   New York Minimum Wage Act (“NYMWA”), N.Y. Lab. Law §§ 650 et seq., including
   NYLL § 663, and the regulations thereunder.


3. Plaintiff is also entitled to recover all of her unpaid wages under Article 6 of the New York
   Labor Law including Section 191, 193, 198, 198-c, and compensation for not receiving
   notices and statements required by NYLL 195, and is also entitled to maximum liquidated
   damages, and attorneys’ fees pursuant to Section 198 of the New York Labor Law.


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                          JURISDICTION AND VENUE
4. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337 and
   supplemental jurisdiction over plaintiff’s state law claims pursuant to 28 U.S.C. § 1367. In
   addition, the Court has jurisdiction over plaintiff’s claims under the Fair Labor Standards Act
   pursuant to 29 U.S.C. § 216 (b).


5. Venue is proper in the Southern District of New York pursuant to 28 U.S.C. § 1391(b) and
   29 U.S.C. § 216 (b).


6. This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C. §§
    2201 2202.


                             THE PARTIES
7. Plaintiff Martha Reyes (“Plaintiff” or “Reyes”) is an adult, over eighteen years old who
   currently resides in New York County in the state of New York.


8. Upon information and belief, and at all times relevant herein, Defendant Concord
   Management of NY LLC (“Concord”) was a New York company duly authorized to do
   business in New York.

9. At all times relevant herein, Defendant Concord owned and/or operated the building in which
   Plaintiff worked located at 17-23 Post Avenue, New York, NY 10034.

10. At all times relevant herein, Defendant Concord controlled the employment of Plaintiff and
   were responsible for retaining, firing, scheduling, controlling, managing, supervising, and
   record-keeping as to Plaintiff’s employment, among other employment functions and
   performed such functions as to Plaintiff.


11. At all times relevant herein, Plaintiff was employed by Defendant.




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                                   STATEMENT OF FACTS
12. Upon information and belief, and at all relevant times herein, Defendant was engaged in the
    business of building management and ownership within New York state.


13. Upon information and belief and at all times relevant herein, Defendant owned and/or
    operated dozens of buildings and employed about 50 or more employees.


14. At all times relevant herein, Defendant employed Plaintiff as a handyperson and Plaintiff
    performed manual work including maintenance and repairs in Defendant’s multi-story
    building.


15. Plaintiff was employed as a full-time employee by Defendant from in or around 1982 to on
    or about December 30, 2022.


16. At all times relevant herein, Plaintiff was an hourly employee of Defendant, and her effective
    hourly rate was about $27.151 an hour.

17. Upon information and belief, and at all times relevant herein, Plaintiff worked approximately
    50-60 or more hours each week; 7 days each week and Plaintiff was not paid any wages for
    hours in excess of 40 in a week, for each such week during her employment with Defendant
    – with the exception of about 2-4 weeks each year.

18. At all times relevant herein, in addition to the hours claims in paragraph 17 above, Plaintiff
    worked on-call for an additional 20-30 hours each week for which she was not paid any
    wages in violation of the FLSA and NYLL. See i.e. 29 CFR § 785.17; 29 CFR § 785.16(a),
    etc.

19. A more precise statement of the hours and wages will be made when Plaintiff obtains the

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  Plaintiff was paid $15.625 an hour for 40 hours by check and he was also provided an apartment valued at about
$2,000 a month as part of her compensation – resulting in an effective hourly rate of about $27.15/hr. See i.e. 29
C.F.R. § 778.116 ("Where, for example, an employer furnishes lodging to his employees in addition to cash wages
the reasonable cost or the fair value of the lodging (per week) must be added to the cash wages before the regular
rate is determined.").



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   wage and time records Defendant was required to keep under the FLSA and NYLL. Accurate
   copies of plaintiff’s wage and time records that Defendant was required to keep pursuant to
   29 USC 211, 29 CFR 516 and NYLL 195, 12 NYCRR 141, 142, are incorporated herein by
   reference.

20. At all times relevant herein, Defendant did not provide Plaintiff with the notice(s) required
   by NYLL 195(1). See i.e. Alonso Vazquez v. Azoulay, 834 F. App'x 653, 654 (2d Cir. 2021).

21. At all times relevant herein, Defendant did not provide Plaintiff with the statement(s)
   required by NYLL 195(3) - the statements provided to Plaintiff did not reflect all hours
   worked, nor all wages earned, among other deficiencies. See i.e. Alonso Vazquez v. Azoulay,
   834 F. App'x 653, 654 (2d Cir. 2021)(“For example, the purported hiring notice Azoulay
   cites lacks required information about the employer (such as contact information and the
   corporate or business name), as well as required information about tip credit or tip policy.
   Similarly, Azoulay relies on purported wage notices that lack required information regarding
   all hours worked and wages paid. See Appellee Br. at 16-21.”).


22. Upon information and belief and at all times relevant herein, Defendant had annual revenues
   and/or expenditures in excess of $500,000.


23. At all times applicable herein, Defendant conducted business with vendors/entities/persons
   within the State of New York.


24. At all times applicable herein and upon information and belief, Defendant utilized the
   instrumentalities of interstate commerce such as the United States mail, electronic mail,
   internet and telephone systems. As required by Defendant, Plaintiff utilized cell phone and
   electronic messaging as an integral part of her job to communicate with Defendant and
   tenants throughout her workday.


25. At all times applicable herein and upon information and belief, Defendant utilized the goods,
   materials, and services through interstate commerce.




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26. Defendant as a regular part of its business, makes payment of taxes and other monies to
  agencies and entities outside the State of New York.

27. At all times applicable herein and upon information and belief, Defendant and the tenants in
   its buildings conducted business with mortgage companies, banks, insurance companies, and
   internet/email service providers within and outside the State of New York.

28. Defendant as a regular part of its business, engaged in credit card transactions with involving
   banks and other institutions outside the state of New York.

29. At all times relevant herein and for the time Plaintiff was employed by Defendant, Defendant
   failed and willfully failed to pay plaintiff an overtime rate of at least 1.5 times her regular
   rate of pay for all hours worked in excess of forty hours in a week for each week during her
   employment Defendant – with the exception of 2-4 weeks each year.

30. Upon information and belief, and at all relevant times herein, Defendant failed to display
   federal and state minimum wage/overtime posters as required by the FLSA and NYLL.


31. Upon information and belief, and at all relevant times herein, Defendant failed to notify
   Plaintiff of her federal and state minimum wage and overtime rights and failed to inform
   Plaintiff that she could seek enforcement of such rights through the government enforcement
   agencies. As such, equitable tolling applies in this case. See i.e. Veltri v. Building Service
   32B-J Pension Fund, 393 F.3d 318, 324 (2d Cir. 2004); Kim v. Kum Gang, Inc., No. 12 CIV.
   6344 MHD, 2015 WL 2222438, at 33–34 (S.D.N.Y. Mar. 19, 2015).


32. “Plaintiff” as used in this complaint refers to the named Plaintiff.


33. The “present” or the “present time” as used in this complaint refers to the date this complaint
   was signed.

                         AS AND FOR A FIRST CAUSE OF ACTION
                   FAIR LABOR STANDARDS ACT - 29 U.S.C 201 et Seq.
34. Plaintiff alleges and incorporates by reference the allegations in paragraphs 1 through 33


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   above as if set forth fully and at length herein.


35. At all times relevant to this action, Plaintiff was employed by Defendant within the meaning
   of the FLSA, 29 USC 201 et Seq.


36. At all times relevant to this action, Plaintiff was engaged in commerce and/or in the
   production of goods for commerce and/or Defendant, constituted an enterprise(s) engaged in
   commerce within the meaning of 29 U.S.C. §§ 206(a) and/or 207(a).


37. At all times relevant herein, Defendant transacted commerce and business in excess of
   $500,000.00 annually or had revenues in excess of $500,000.00 annually.


38. At all times relevant herein, Defendant failed and willfully failed to pay Plaintiff overtime
   compensation at a rate of at least 1.5 times her regular rate of pay for each hour worked in
   excess of forty hours in a week, in violation of 29 U.S.C. § 207.


                               Relief Demanded
39. Plaintiff is entitled to recover from Defendant, her unpaid overtime compensation, maximum
   liquidated damages, attorneys’ fees, and costs of the action, pursuant to 29 U.S.C. § 216(b).


                    AS AND FOR A SECOND CAUSE OF ACTION
            NYLL 650 et Seq. and 12 NYCRR 142-2.2, 141-1.4 etc. (Unpaid Overtime)
40. Plaintiff alleges, and incorporates by reference the allegations in paragraphs 1 through 38
   above as if set forth fully and at length herein.


41. At all times relevant to this action, Plaintiff was employed by Defendant within the meaning
   of the New York Labor Law, §§ 2 and 651 and the regulations thereunder including 12
   NYCRR § 142, 12 NYCRR § 141-1.4.


42. At all times relevant to this action, Plaintiff was employed by Defendant within the meaning




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    of the New York Labor Law, §§ 2 and 651 and the regulations thereunder.

43. At all times relevant herein, Defendant failed and willfully failed to pay Plaintiff overtime
    compensation at rates of at least 1.5 times her regular rate of pay for each hour worked in
    excess of forty hours in a week, in violation of the New York Minimum Wage Act and its
    implementing regulations. N.Y. Lab. Law §§ 650 et seq.; 12 NYCRR § 142-2.2, 12 NYCRR
    § 141-1.4.


                               Relief Demanded
44. Plaintiff is entitled to recover from Defendant, her unpaid overtime compensation,
    prejudgment interest, maximum liquidated damages, reasonable attorneys' fees, and costs of
    the action, pursuant to N.Y. Labor L. § 663(1).


                        AS AND FOR A THIRD CAUSE OF ACTION
                          (NYLL § 190, 191, 193, 195, 198, and 198-c)
45. Plaintiff alleges and incorporates each and every allegation contained in paragraphs 1
    through 44 above with the same force and effect as if fully set forth at length herein.


46. At all times relevant to this action, Plaintiff was employed by Defendant within the meaning
    of the New York Labor law, §§ 190 et seq., including §§ 191, 193, 195, 198 and 198-c and
    the applicable regulations thereunder.

47. At all relevant times herein, Defendant violated and willfully violated Plaintiff’s rights under
    NY Labor Law § 190 et seq. including NY Labor Law §§ 191, 193 and 198 by failing to pay
    Plaintiff all her wages, including her unpaid non-overtime wages, overtime wages, and wage
    deductions, as required under NY Labor Law § 190 et seq.

48. At all times relevant herein, Plaintiff was entitled to severance/separation pay.

49. At all times relevant herein, Defendant failed and willfully failed to provide Plaintiff with the
    notice(s) required by NYLL 195(1) – plaintiff is therefore entitled to and seeks to recover in
    this action the maximum recovery for this violation, plus attorneys’ fees and costs pursuant



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   to NYLL 198 including NYLL 198(1-b), as well as an injunction directing Defendant to
   comply with NYLL 195(1).


50. At all times relevant herein, Defendant failed and willfully failed to provide Plaintiff with the
   statement(s) required by NYLL 195(3) – Plaintiff is therefore entitled to and seeks to recover
   in this action the maximum recovery for this violation, plus attorneys’ fees and costs
   pursuant to NYLL 198 including NYLL 198(1-d), as well as an injunction directing
   Defendant to comply with NYLL 195(1).


                               Relief Demanded
51. Plaintiff is entitled to recover from Defendant, her entire unpaid wages, including her unpaid
   non-overtime wages, overtime wages, wage deductions, severance pay, maximum liquidated
   damages, prejudgment interest, maximum recovery for violations of NYLL §195(1) and
   NYLL § 195(3), reasonable attorneys’ fees, and costs of the action, pursuant to N.Y. Labor
   Law § 190 et seq. including § 198.


                               PRAYER FOR RELIEF
WHEREFORE, plaintiff respectfully requests that this Court grant the following relief:
52. Declare Defendant (including its overtime and wage payment policy and practice), to be in
   violation of the rights of Plaintiff, under the FLSA and New York Labor Law – 12 NYCRR §
   142, and Article 6 of the NYLL – NYLL § 190 et Seq.


53. As to the First Cause of Action, award Plaintiff her unpaid overtime wages due under the
   FLSA, together with maximum liquidated damages, costs and attorneys’ fees pursuant to 29
   USC § 216(b);


54. As to the Second Cause of Action, award Plaintiff her unpaid overtime wages due under the
   New York Minimum Wage Act and the Regulations thereunder including 12 NYCRR § 142-
   2.2, 12 NYCRR § 141-1.4, together with maximum liquidated damages, prejudgment
   interest, costs and attorneys’ fees pursuant to NYLL § 663;




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55. As to the Third Cause of Action, award Plaintiff any and all outstanding wages, including
   her entire unpaid wages, including her unpaid non-overtime wages, overtime wages, wage
   deductions, severance pay, maximum liquidated damages, prejudgment interest, maximum
   recovery for violations of NYLL 195(1) and NYLL 195(3), reasonable attorneys’ fees, and
   costs of the action, pursuant to N.Y. Labor Law § 190 et seq. including § 198.


56. Award Plaintiff, any relief requested or stated in the preceding paragraphs but which has not
   been requested in the WHEREFORE clause or “PRAYER FOR RELIEF”, in addition to the
   relief requested in the wherefore clause/prayer for relief;


57. Award Plaintiff such other, further and different relief as the Court deems just and proper.


Dated: Queens Village, New York
      December 31, 2022

Respectfully submitted,


Abdul Hassan Law Group, PLLC
/s/ Abdul Hassan _________________
By: Abdul K. Hassan, Esq. (AH6510) - Counsel for Plaintiff
215-28 Hillside Avenue, Queens Village, NY 11427
Tel: 718-740-1000 Fax: 718-740-2000
Email: abdul@abdulhassan.com




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